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                                           ORDERED.


      Dated: July 17, 2019




                        IN THE UNITED STATES BANKRUPTCY COURT
                     MIDDLE DISTRICT OF FLORIDA, FORT MYERS DIVISION
In Re:

MARY ANN WALLACE                                           Case No. 9:19-bk-04307-FMD


                       Debtor.                        /

   ORDER APPROVING APPLICATION TO EMPLOY COUNSEL FOR TRUSTEE (Doc #8)

         THIS CAUSE came on for consideration without hearing upon an Application to Employ
Counsel filed by the Trustee in the above-captioned Chapter 7 case. The Court has considered the
Application, together with the record, and finds that the Application seeks to employ Robert E. Tardif Jr.,
P.A., as counsel for the Trustee. As no notice of hearing on the Application should be given, and
attorneys of the above-named law firm are duly admitted to practice in this Court, this Court is satisfied
that the employment is necessary and would be in the best interest of the estate, and that the case is one
justifying the employment of said attorneys under a general retainer and it is, therefore

       ORDERED, ADJUDGED and DECREED that the Application be and the same is hereby
approved, and it is further

        ORDERED, ADJUDGED and DECREED that the Trustee be, and he is hereby authorized to
employ Robert E. Tardif Jr., P.A., under a general retainer and to the amount of compensation of counsel
shall be determined by Order of this Court upon properly submitted application for allowance filed in
compliance with Bankruptcy Rule 2016. Compensation will be determined later in accordance with 11
U.S.C. §330.




Trustee, Robert E. Tardif Jr., is directed to serve a copy of this Order on interested parties who are non-
CM/ECF users and file a proof of service within 3 days entry of the Order.
